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, D 3/$,17,))6                                                                                                  '()(1'$176
                                                                                                             CITY AND COUNTY OF SAN FRANCISCO, SAN FRANCISCO POLICE DEPARTMENT, SAN FRANCISCO DEPARTMENT OF PUBLIC WORKS, SAN FRANCISCO
  COALITION ON HOMELESSNESS; TORO CASTAÑO; SARAH CRONK; JOSHUA DONOHOE; MOLIQUE FRANK;                       DEPARTMENT OF HOMELESSNESS AND SUPPORTIVE HOUSING, SAN FRANCISCO FIRE DEPARTMENT, SAN FRANCISCO DEPARTMENT OF EMERGENCY
                                                                                                             MANAGEMENT, LONDON BREED, in her official capacity as Mayor, SAM DODGE, in his official capacity as Director of the Healthy Streets Operation Center (HSOC)
  DAVID MARTINEZ; TERESA SANDOVAL; NATHANIEL VAUGHN

      E &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII               San Francisco, CA                            &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW                                             San Francisco, CA
            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                $WWRUQH\V(If Known)

 (See Attachment)
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                                                   (U.S. Government Not a Party)
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                         42 U.S.C. § 1983 et seq., 42 U.S.C. § 12131 et seq.
              $&7,21
                                 %ULHIGHVFULSWLRQRIFDXVH
                                  Lawsuit alleging violations of the Fourth, Eighth, and Fourteenth Amendments to the U.S. Constitution, Americans with Disabilities Act, and related state constitutional claims

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       Case 4:22-cv-05502-DMR            Document 1-1     Filed 09/27/22   Page 2 of 2




                                      Attachment - Civil Cover Sheet



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